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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

    Civil Action Number 1: 16-CV -23965-JJO

    ANDRES GOMEZ,

            Plaintiff,

    V.

    TRIUMPH MOTORCYCLES (AMERICA)
    LIMITED,
    Defendant.



                         FINAL ORDER OF DISMISSAL WITH PREJUDICE


            THIS MATTER is before the Court on the parties' Joint Stipulation of Dismissal with

    Prejudice filed on December 19,2016, in the above-styled case. Upon careful review ofthe

    record and pursuant to Rule 41 ofthe Federal Rules of Civil Procedure, it is

            ORDERED, ADJUDGED and DECREED as follows:

            The above-styled case is hereby DISMISSED WITH PREJUDICE.

            DONE AND ORDERED in Chambers in Miami, Flo da this               Ji_ day of December,
    2016.




         cc: All counsel ofRecord
